                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


THOMAS FRAME, on behalf
of himself and others similarly situated,
             Plaintiff,

       v.                                                  Case No. 22-CV-1016

KOHL’S CORPORATION, et al.,
           Defendants.
______________________________________________________________________

                                            ORDER

       On September 30, 2024, I granted defendants’ motion to dismiss the amended

class action complaint and allowed plaintiff to move for leave to file a second amended

complaint pursuant to Federal Rule of Civil Procedure 15 and Civil Local Rule 15 by

November 1, 2024. I explained that if plaintiff chose not to seek leave to amend by the

deadline, I would enter final judgment for defendants. The November 1 deadline has

passed, and plaintiff has not sought leave to file a second amended complaint.

Accordingly, I will enter final judgment for defendants.

       THEREFORE, IT IS ORDERED that this action is hereby DISMISSED. The Clerk

of Court shall enter final judgment.

       Dated at Milwaukee, Wisconsin, this 5th day of November, 2024.



                                                   /s/ Lynn Adelman
                                                   LYNN ADELMAN
                                                   United States District Judge




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